Case 5:14-cv-01432-D Document 1-1 Filed 12/30/14 Page 1 of 4




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          IN THE DISTRICT COURT OF OKLAHOMA COUNTY
                      STATE OF OKLAHOMA



CHRISTINA BOX,

                     P]aintiff;

vs


BRIDGEWOOD—RCM PROPERTY
MANAGEMENT, L.L.C., a foreign
limited liability company d/b/a Village
on the Park-Oklahoma City, and
RATNTREE HOLDINGS, L.L.C., a
foreign limited liability company, d/b/a

                                                              CJ -2014- b 469
Village on the Paxk-Oklahoma City,

                   Defendants.



                                          PETITION

        COMES NOW Plainriff, Christina Box, for her cause of action against Defendants,

Bridgewood—RCM Property Management, L.L.C. ("RCM'                and Rainttee Holdings, L.L.C.,

("Raintree"), states as follows:

                                        THE PARTIES

     1. Plaintiff, Christina Box,is a citizen and resident of Oklahoma County, Oklahoma.

     2. Defendant, RCM, is a foreign limited Fiabilita company conducting business in Oklahoma

        County, Oklahoma under the name of Village on the Park in Oklahoma City.

     3. Defendant, Raintcee, is a foreign limited liability company conducting business in Oklahoma

        County, Oklahoma under the name of Village on the Park in Oklahoma Cite.




                                                 1




                                   ~                                                         'Exhibit #
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Case 5:14-cv-01432-D Document 1-1 Filed 12/30/14 Page 2 of 4




                             JURISDICTION AND VENUE

 4. This is an action arising from the Defendants' tenninadon of the Plaintiffs employment for

     refusing to violate an established and well-defined Oklahoma public polity and for                i

     performing acts) consistent with clear and compelling policies of the State of Oklahoma.

  5. All of the clauns at issue herein arose in Oklahoma County, Oklahoma.

  6. Defendants conduct business in Oklahoma Countf and may be served in Oklahoma County.

                                  THE CAUSE OF ACTION

  7. The Plaicttiff has been a Licensed Practical Nurse (LPN)since 2006.
                                                                                                           i

  $. The Defendants own and operate an assisted living center in Ok3ahoma City under the name

      of Village on the Park.

  9. The Defendants hued the Plaintiff at Village on the Park on May 19, 2614, as a Wellness

      Nurse.

  10. The Defendants' job description £ot the Plaintiff as a Wellness Nurse states that an essential

      £unction for a Wellness Nurse is to ensure State regulatory guidelines are sarisfied.

  11. The Plaintiff reported directly to the Director of Resident Cate, Cassi Jan1s.

  12. During the PlainrifFs employment with the Defendants, the PLlintiff reported numerous

      ongoing violarions of the Oklahoma Pablic Health Code and Oklahoma State Regulations by

      the Defendants to her unmediate supervisor and other appxopdate individuals within the

      company.

  13. The Defendants terminated the Plauitiff's employment on August 19, 2014.

  14. A significant or motivating factor in the tenrvnation of the Plaintiffs employment was an

      intention to retaliate against the Plaintiff due to her internal reports of violations.

  15. This activity resulted in an intentional ox toxtious interference with Plaintiffs employment

      and caused the Plaintiff severe emotional distress.
Case 5:14-cv-01432-D Document 1-1 Filed 12/30/14 Page 3 of 4




                                   DUTIES OWED BY RCM

  16. An employer may not terminate an employee fox refusing to violate an established and well-

     defined Oklahoma,public policy.                                                                  '

  17. An employer map not terminate an employee fox pesfonning acts consistent with clear and

     compelling policies of the State of Oklahoma.

                                DUTIES VIOLATED BY RCM

  18. The Defendants ~riolated the duty to not terminate the Plainriff's employment for refusing to

     violate an established and well-defined Oklahoma public policy, which caused the Plaintiff to

     incur significant damages.

  1). The Defendants violated the duty to not terminate the P]aintifPs employment for

      performing acts consistent with clear and compelling policies of the State of Oklahoma,

      which caused the Plaintiff to incur significant damages.

                       CAUSATION OF PLAINTIFF'S DAMAGES

  20, t1s a direct and proximate result of the Defendants' actions, Plaintiff has suffered damages

      described hereafter.

                         DAMAGES SUSTAINED BY PLAINTIFF

  21. Plaintiff has suffered lost earnings, past and future, and other compensatory damages.

  22. The Defendants' actions were willful, wanton, or, at the leash in reckless disregard of

      Plaintiffs rights; therefore, Plaintiff is entitled to punitive damages.

                                 DEMAND FOR JURY TRIAL

  23. The Plaintiff demands a jury trial for all issues of Eact presented by this action.

                      RESERVATION OF ADDITIONAL CLAIMS

  24. The Plaintiff reserves the right to plead fitrthex upon completion of discovery to state

      additional claims and to name additional parties to this action.



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Case 5:14-cv-01432-D Document 1-1 Filed 12/30/14 Page 4 of 4




    WHEREFORE, Plaintiff, Christina Box, prays fox judgment against the Defendant, in a sum

excess of the amount required foc diversity juxisdicuon under 2S U.S.C. ~ 1332 (cursendy

$75,000.00) plus interest, costs, attorney's fees, punitive damages, and all such other and further

relief as to which Plaintiff may be entitled.

                                                     Respectfully submitted,


                                                        r
                                                     Chris Hammons,OBA #20233
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                                                     ATi'ORNEY POR PLAII~iTIFF

    ATTORNEY LIEN CLAIMED




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